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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )           8:06CR304
                                                   )
                Plaintiff,                         )
                                                   )           ORDER
v.                                                 )
                                                   )
JOSE ASTORGA-GARCIA,                               )
JOSE ESTRADA-MENDEZ,                               )
JOSE GALVAN-GODINEZ,                               )
MARCO CEDILLO,                                     )
MIGUEL ROMERO and                                  )
TARA WILLIAMS,                                     )
                                                   )
                Defendants.                        )

         This matter is before the court sua sponte.

       The government was granted an extension of time until October 19, 2006, in which to
provide discovery material to the defendants because of the amount of such material (Filing No.
52). As such, the defendants will need additional time in which to review such materials before
deciding on whether any pretrial motions should be filed. Accordingly,

         IT IS ORDERED:

       1.     The deadline for filing any pretrial motions in accordance with paragraph 3 of the
progression order is extended to November 17, 2006, for all defendants.

       2.     The evidentiary hearing tentatively scheduled for 1:30 p.m. on November 1, 2006,
is canceled and will be rescheduled, if necessary, following the filing of any pretrial motions in
accordance with this order.

        3.     The trial setting in this matter is canceled and will be reset following the expiration
of the motion deadline or the disposition of any pretrial motion.

        4.       The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between October 10, 2006 and November 17, 2006,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendants’ counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

         DATED this 10th day of October, 2006.

                                               BY THE COURT:

                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge


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